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 8
                              UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
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11   ANTONIO GARCIA, JR., an individual, ) Case No: 2:16-cv-05627-R-PJW
                                         )
12
                  Plaintiff,             ) Joint Stipulation for Dismissal of Entire
13                                       ) Action With Prejudice
14   v.                                  )
                                         )
15   PROBER & RAPHAEL, a law             )
16   corporation; et al.,                )
                                         )
17
                 Defendants.             )
18
19
           Plaintiff ANTONIO GARCIA, JR. and Defendant PROBER & RAPHAEL hereby
20
     jointly move this Court to dismiss this action with prejudice pursuant to Federal Rule of
21
     Civil Procedure 41(a)(1)(A)(ii).
22
23   DATE: May 3, 2018                               BY: /s/Octavio Cardona-Loya II          .
                                                     Octavio Cardona-Loya II
24                                                   Attorney for Plaintiff
25
26   DATE: May 3, 2018                               BY: /s/Homan Mobasser                   .
                                                     Homan Mobasser
27
                                                     Attorney for Defendant
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 1                                        Signature Certification
 2         Pursuant to Local Rule 5-4.3.4(a)(2), I hereby certify that all of other signatories
 3   listed, on whose behalf this filing is submitted, concur with the contents of this filing and
 4   have authorized the filing.
 5
 6   DATE: May 3, 2018                               BY: /s/Octavio Cardona-Loya II          .
 7                                                   Octavio Cardona-Loya II
                                                     Attorney for Plaintiff
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